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  CASE LOMBARDI & PETTIT
  A LAW CORPORATION

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  CONCRETE CORING COMPANY OF HAWAII,
  A PENHALL COMPANY, A CALIFORNIA CORPORATION

                  IN THE UNITED STATES DISTRICT COURT

                                DISTRICT OF HAWAII

   CONCRETE CORING COMPANY                CIVIL NO.: 19-00422-SOM-WRP
   OF HAWAII, A PENHALL
   COMPANY, A CALIFORNIA                  STIPULATED ORDER FOR STAY
   CORPORATION,                           OF LITIGATION AND COURT
                                          DEADLINES
                   Plaintiff,

        vs.

   DAVID M. ALISA AND PACIFIC
   CONCRETE & CORING, INC. DBA
   NATIONAL CONCRETE SAWING,
   A HAWAII CORPORATION

                   Defendants.
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                        STIPULATED ORDER FOR STAY
                    OF LITIGATION AND COURT DEADLINES

        Plaintiff Concrete Coring Company of Hawaii, A Penhall Company, A

  California Corporation ("Plaintiff") and Defendants David M. Alisa ("Alisa") and

  Pacific Concrete & Coring, Inc. dba National Concrete Sawing, A Hawaii

  Corporation (collectively "Defendants"), by and through their respective counsel and

  for themselves, hereby stipulate and agree as follows:

        A.    On August 6, 2019, Plaintiff filed its Complaint against Defendants and

              the Defendants were served with the Complaint;

        B.    The Complaint, among other things, concerns Plaintiff's claims of (1)

              Breach of Contract by Alisa pursuant to the noncompetition covenant

              in the Proprietary Information and Confidentiality Agreement dated

              May 2, 2015 by and between Plaintiff, as employer, Alisa, as employee,

              (the "Agreement"); (2) Breach of Contract by Alisa for Confidentiality

              pursuant    to     the     Agreement;     (3)    Actual   and   Threatened

              Misappropriation of Trade Secrets against all Defendants pursuant to

              18    U.S.C.     section    1836;   and    (4)   Actual   and   Threatened

              Misappropriation of Trade Secrets against all Defendants pursuant to

              Hawaii Revised Statute section 482B;

        C.    On September 6, 2019, a Stipulated Order for Preliminary Injunction

              and Permanent Injunction Against Defendants David M. Alisa and

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             Pacific Concrete & Coring, Inc. was filed herein. Dkt #7;

        D.   The parties have entered into a Confidential Settlement Agreement

             that, among other things, pending completion and satisfaction of any

             and all obligations, conditions and covenants contained in the

             Confidential Settlement Agreement, all proceedings, hearings and

             court deadlines in this case are hereby stayed for a period of one year

             from the date of this Stipulation and Order;

        E.   In approximately one year from the date of this Stipulation, the parties

             will submit for filing a Stipulation and Order for Dismissal Without

             Prejudice; and

        F.   The   Court      shall   retain       jurisdiction   over   the   interpretation,

             implementation or any dispute related to or concerning the Confidential

             Settlement Agreement.

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       DATED:      Honolulu, Hawaii, September 25, 2019.

        /s/ Mark G. Valencia                  /s/ Kale Feldman
  MARK G. VALENCIA, ESQ.                KALE FELDMAN, ESQ.
  Attorney for Plaintiff                Attorney for Defendants
  CONCRETE CORING COMPANY               DAVID M. ALISA, and
  OF HAWAII, A PENHALL                  PACIFIC CONCRETE & CORING, INC.
  COMPANY, A CALIFORNIA                 dba NATIONAL CONCRETE SAWING, A
  CORPORATION                           HAWAII CORPORATION

  APPROVED AND SO ORDERED.

  DATED, HONOLULU, HAWAII, OCTOBER 3, 2019.




  Civil No.:19-00422 SOM-WRP; Concrete Coring Company of Hawaii, A Penhall
  Company, A California Corporation v. David M. Alisa, et al.; STIPULATED
  ORDER FOR STAY OF LITIGATION AND COURT DEADLINES




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